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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
----------------------------------------------------------------x
ROCKHILL INSURANCE COMPANY,

                                                                        Civil Action No.
                                   Plaintiff,

                  -against-                                             COMPLAINT

ARCH SPECIALTY INSURANCE COMPANY,

                                   Defendant.
---------------------------------------------------------------x
MADAMS/SI RS:

                 Plaintiff ROCKHILL INSURANCE COMPANY ("Rockhill"), by its attorneys,

JAFFE & ASHER LLP, as and for its Complaint against defendant ARCH SPECIALTY

INSURANCE COMPANY ("Arch"), alleges as follows:

                                     JURISDICTION AND VENUE

                 1.       This Court has jurisdiction over this matter pursuant to 28 U.S.C.

§ 1332(a) by reason of the diversity of citizenship of the parties and the fact that the amount in

controversy exceeds the sum of $75,000.00 exclusive of costs.

                 2.       At all times hereinafter mentioned, Rockhill was, and still is, a stock

insurance company organized under the laws of the State of Arizona, with its principal place of

business located at 518 East Broad Street, Columbus, Ohio 43215.

                 3.       At all times hereinafter mentioned, Rockhill was, and still is, an insurance

company duly authorized to conduct business within the State of New York.

                 4.       At all times hereinafter mentioned, Arch was, and still is, a stock

insurance company organized under the laws of the State of Missouri, with its principal place of

business located at 210 Hudson Street, Suite 300, Jersey City, NJ 07311-1107.
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                5.      At all times hereinafter mentioned, Arch was, and still is, an insurance

company duly authorized to conduct business as a non-admitted insurer within the State of New

York.

                6.     This Court has venue over this matter pursuant to 28 U.S.C. § 1391; a

substantial part of the events or omissions giving rise to the claim occurred in this District.

                                SUBSTANTIVE ALLEGATIONS

A.      The Insurance Policies

                7.     Rockhill issued a Commercial General Liability policy, No.

GENL019436-01, with a policy period from April 13, 2018 to April 13, 2019, to 1 Seal USA,

LLC ("1 Seal"), as the Named Insured (the "Rockhill Policy").

                8.     The Rockhill Policy is subject to an Each Occurrence Limit of $1 million.

               9.      The Rockhill Policy defines the terms "you" and "your" as follows:

               Throughout this policy the words "you" and "your" refer to the
               Named Insured shown in the Declarations, and any other person or
               organization qualifying as a Named Insured under this policy.

                10.    The Rockhill Policy contains an "Other Insurance" provision that

provides, in relevant part as follows:

                b.     Excess Insurance

               (1) This insurance is excess over:

                                                ***

               (b) Any other primary insurance available to you covering liability
               for damages arising out of the premises or operations, or the
               products and completed operations, for which you have been added
               as an additional insured by attachment of an endorsement.




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                11.     Arch issued a Commercial General Liability policy, No. AGL0054720-00,

with a policy period from July 3, 2018 to July 3, 2019, to Al Mechanical Seal Inc. D/B/A

Surface Depot Corp. ("Al"), as the Named Insured (the "Arch Policy").

                12.     Arch issued the Arch Policy to Al to its office located at 9 Fawn Hill

Drive, Airmont, New York 10952.

                13.     At all times herein mentioned, Al was, and still is, a corporation

organized under the laws of the State of New York, with its 25 Robert Pitt Drive, Office 206B,

Monsey, New York 10952.

                14.     Upon information and belief, the Arch Policy has an Each Occurrence

Limit of $1 million.

                15.    Upon information and belief, the Arch Policy contains a "Blanket

Additional Insured Endorsement" that provides, in part, as follows:

                SECTION II - WHO IS AN INSURED is amended to include as
                an additional insured those persons or organizations who are
                required under a written contract with you to be named as an
                additional insured, but only with respect to liability for "bodily
                injury", "property damage", or "personal and advertising injury"
                caused, in whole or in part, by your acts or omissions or the acts or
                omissions of your subcontractors:

                a. In the performance of your ongoing operations or "your work",
                including "your work" that has been completed; or

                b. In connection with your premises owned by or rented to you.

               The person or organization does not qualify as an Additional
               Insured with respect to any independent act(s) or omission(s) of
               such person or organization.

                16.    Upon information and belief, the Arch Policy contains a "Primary and

Non-Contributory Insurance Where Required By Written Contract(s) Endorsement" that

provides, in part as follows:

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                d. Primary and Non-Contributing Insurance

                Where you are specifically required by a written contract to
                provide insurance that is primary and noncontributory and the
                written contract so requiring is executed by you before any
                "occurrence" or offense, this insurance will be primary and the
                other insurance will not contribute with this insurance, but only if
                and to the extent required by that written contract.

                17.    The Arch Policy contains an "Other Insurance" provision that provides, in

part, as follows:

                a. Primary Insurance

                This insurance is primary except when Paragraph b. below applies.
                If this insurance is primary, our obligations are not affected unless
                any of the other insurance is also primary. Then, we will share with
                all that other insurance by the method described in Paragraph c.
                below.

                18.     No part of"Paragraph b. below" applies when the Arch Policy is

compared to the Rockhill Policy.

B.     The Underlying Action

                19.    On or about August 1, 2018, Jack Adams ("Adams") commenced an

action entitled Jack Adams v. 1128 3611i LLC, Index No. 515713/2018, in the Supreme Court of

the State of New York, County of Kings, by the filing of a Summons and Verified Complaint

(the "Underlying Action.").

               20.      On or about September 14, 2019, 1128 36 th LLC impleaded Apartment

Developers, LLC and 1 Seal into the Underlying Action by the filing of a Third-Party Summons

and Verified Third-Party Complaint.

               21.     On or about November 26, 2019, Adams served and filed an Amended

Verified Complaint in the Underlying Action that included Apartment Developers, LLC as a

direct defendant.

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               22.     On or about April 9, 2021, 128 36th LLC impleaded Al into the

Underlying Action by the filing of a Second Third-Party Summons and Verified Second Third-

Party Complaint.

               23.     In the Underlying Action, Adams alleges he suffered bodily injury on July

16, 2018 while working on a construction project located at 1128 36 th Street, in Kings County,

New York (the "Project").

               24.      In the Underlying Action, Adams alleges that he was lawfully working on

the Project, when he was caused to fall from a ladder.

               25.     In the Amended Verified Complaint in the Underlying Action, Adams

alleges causes of action sounding in negligence and for violation ofN.Y. Labor Law§§ 200,

240(1), and 241(6) and of the Industrial Code of the State of New York.

               26.     In the Underlying Action, the Verified Third-Party Complaint alleges that

"[i]f Plaintiff was injured as alleged in the complaint, it was due to the negligence and

carelessness as aforesaid of the Third-Party Defendant 1 Seal USA, LLC, its agents, servants,

and/or employees.

               27.     In the Underlying Action, the Verified Third-Party Complaint alleges

causes of action sounding in common law indemnification, contribution, contractual

indemnification, and breach of contract for failure to obtain insurance coverage against 1 Seal.

               28.     In the Underlying Action, 128 36 th LLC alleges causes of action sounding

in common law indemnification, contribution, contractual indemnification, and breach of

contract for failure to obtain insurance coverage against Al.

               29.     In his Verified Bill of Particulars, Adams alleges that he was injured in the

course of his employment with A 1.



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                  30.   On July 16, 2018, Adams was directed by his supervisor, Odeon, another

A I employee, to tape the walls of the ramp leading to the basement as part of his work on the

Project.

                  31.   Upon information and belief, Adams alleges that, to perform his task,

Adams was directed by his supervisor to use a 14-16-foot straight aluminum ladder in order to

access the top of the walls to perform the work; specifically, Adams alleges he was directed to

tape the walls above the inclined concrete ramp leading into the basement of the building.

                  32.   Upon information and belief, Adams alleges that he was on the eighth or

ninth rung of the straight ladder and doing his work at the top of the wall, and that the ladder slid

out from underneath Adams and fell, causing Adams to fall from a height and down to the

concrete ramp below.

C.      The Contracts

                  33.   On or about May 22, 2018, 1128 36th LLC, as Owner, and Apartment

Developers LLC, as Contractor, entered into a Standard Form of Agreement Between Contractor

and Owner, in connection with a construction project at the Project.

                  34.   Apartment Developers LLC, as Contractor, and I Seal, as Subcontractor,

entered into an agreement for I Seal to perform work on the Project.

                  35.   Pursuant to the Subcontract, I Seal contractually agreed to perform fire

stopping services - installing foam insulation for pipes in connection with work in the basement

of the Project.

                  36.   I Seal, as Contractor, and Al, as Subcontractor, entered into an agreement

whereby Al agreed to perform all obligations and work on the Project that I Seal agreed to

perform for Apartment Developers LLC (the "Al Subcontract").



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                37.     1 Seal did not perform any of the work under the Subcontract- it

contracted out all of its obligations to A 1.

                38.     In connection with the Al Subcontract, on July 5, 2028, 1 Seal and Al

entered into a "Subcontract Agreement Rider (Contractor/Subcontractor)" (the "Rider").

                39.     The Rider provides, in part, as follows:

               2. Insurance. The Subcontractor shall procure and shall maintain
               until final acceptance of the Work, such insurance as will protect
               the Contractor, all entities the Contractor is required indemnify and
               hold harmless, the Owner, and their officers, directors, agents and
               employees, for claims arising out of or resulting from
               Subcontractor's Work under this Contract Agreement, whether
               performed by the Subcontractor, or by anyone directly or indirectly
               employed by Subcontractor, or by anyone for whose acts
               Subcontractor may be liable ....

               40. The Rider provides, in part, as follows:

               2.1. The Subcontractor's insurance shall include contractual
               liability coverage and additional insured coverage for the benefit of
               the Contractor, Owner and anyone else the Owner is required to
               name (as set forth in the schedule below), and shall specifically
               include coverage for completed operations. The insurance
               required to be carried by the Subcontractor and any Sub-Sub-
               contractors shall be PRIMARY AND NON-CONTRIBUTORY.
               With respect to each type of insurance specified hereunder, the
               Contractor's and Owner's insurances shall be excess to
               Subcontractor's insurance.

               41.     The Rider provides, in part, as follows:

               2.4. Unless otherwise stipulated in the Contract Agreement, the
               Subcontractor shall maintain no less than the limits specified for
               each of the following insurance coverages:

               U Commercial General Liability using an industry standard
               unmodified coverage form including contractual liability with
               minimum limits of $1,000,000 each occurrence, $2,000,000
               aggregate and $2,000,000 Products completed operations
               aggregate with either per project or per
               location endorsement for property damage and bodily injury; ....



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                42.     1 Seal subcontracted all of its work under the Subcontract to Al.

                43.    Upon information and belief, the ladder and all other equipment or other

materials, such as fire proofing or fire stopping materials, supplied to Adams or that was

supposed to be supplied to Adams for the Project was supplied by Al.

                44.    1 Seal did not supervise or control the work being performed by Al on the

Project.

C.      Tenders and Responses

               45.     By letter February 16, 2021, the law firm of Alahverdian Van Leuvan, as

counsel for 1 Seal, tendered the defense and indemnity for the Underlying Action to Al and

Arch, including as an additional insured under the Arch Policy.

               46.     By letter dated March 15, 2021, Arch disclaimed coverage to 1 Seal based

on the following; (1) Al breached the notice provisions of the Arch Policy by filing to provide

timely notice of the alleged occurrence; (2) coverage is or may be barred by the Classification

Limitation Endorsement; (3) coverage is barred by a Workers Compensation and Similar Laws

exclusion in the Arch Policy; (4) coverage is barred by the Employer's Liability exclusion in the

Arch policy; and (5) any claim for contractual indemnification against Al for contractual

indemnification would be denied based on the Contractual Liability exclusion in the Arch Policy.

               47.     The March 15, 2021 letter did not provide any additional identified

reasons for disclaiming coverage to 1 Seal.

               48.     By letter dated January 8, 2024, the attorneys for Rockhill tendered a final

demand to Arch demanding that Arch defend and indemnify 1 Seal as an additional insured on

the Arch Policy, and the letter specifically warned that Arch "should consider this letter Arch's

last chance to avoid coverage litigation."



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               49.     Arch has not provided a written or oral response to the January 8, 2024

letter.

               50.     Although duly requested, Arch failed and refused to participate in the

defense of 1 Seal for the Underlying Action or acknowledge a duty to defend.

               51.     As such, Rockhill was required to drop down and provide a defense to 1

Seal for the Underlying Action.

               52.     Pursuant to N.Y. Ins. Law§ 1213 (McKinney), Rockhill is entitled to

recovery of attorney's fees from Arch incurred in prosecuting this action.

                         AS AND FOR A FIRST CLAIM FOR RELIEF

               53.    Rockhill repeats, realleges, and reiterates each and every allegation

contained in paragraphs "1" through "52" of this Complaint as if more fully set forth herein.

               54.     1 Seal qualifies as an additional insured under the Arch Policy for the

claims alleged in the Underlying Action.

               55.    Arch owes 1 Seal a duty to defend and indemnify for the claims alleged in

the Underlying Action.

               56.    Although duly demanded, Arch has failed and refused to provide a

primary defense and indemnification to 1 Seal for the claims alleged in the Underlying Action.

               57.    Rockhill seeks a determination of its rights with regard to the Arch Policy,

including a declaratory judgment that Arch was and is required to defend and indemnify 1 Seal

for the Underlying Action under the Arch Policy and that such coverage applies on a primary

basis before coverage under the Rockhill Policy applies to 1 Seal.

                      AS AND FOR A SECOND CLAIM FOR RELIEF

               58.    Ohio Casualty repeats, realleges, and reiterates each and every allegation



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 contained in paragraphs "l" through "57'' ofthis Complaint as if more fully set forth herein.

                59.     Arch owed and owes 1 Seal a primary duty to defend under the Arch

 Policy for the claims alleged in the Underlying Action.

                60.     Although duly demanded, Arch has failed and refused to provide a

 primary defense and indemnification to Arch for the claims alleged in the Underlying Action.

                61.     The Rockhill Policy applies excess of the Arch Policy.

                62.     As a result of Arch's failure to acknowledge that it owes a primary duty to

 indemnify 1 Seal, Rockhill was required to drop down and provide and pay for the defense of the

 claims alleged in the Underlying Action against 1 Seal.

                63.     As a result of the foregoing, Rockhill is entitled to a money judgment

 against Arch in an amount to be determined by the Court, plus interest at the rate of 9% per

 annum.

                WHEREFORE, plaintiff ROCKHILL INSURANCE COMPANY demands

 judgment as follows:

               A.       On the First Claim for Relief, a declaratory judgment determining the

 respective rights and obligations of plaintiff ROCKHILL INSURANCE COMPANY and

 defendant ARCH SPECIALTY INSURANCE COMPANY with respect to their liability

 insurance coverage obligations for 1 Seal for the Underlying Action, including a declaratory

 judgment that defendant ARCH SPECIALTY INSURANCE COMPANY is required to defend

 and indemnify 1 Seal for the Underlying Action, and that such coverage for 1 Seal applies on a

 primary basis before coverage under the Rockhill Policy applies to 1 Seal;
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                B.      On the Second Claim for Relief, a money judgment in favor of plaintiff

 ROCKHILL INSURANCE COMPANY and against defendant ARCH SPECIALTY

 INSURANCE COMPANY, in an amount to be determined by the Court, plus interest; and

                C.      Granting plaintiff ROCKHILL INSURANCE COMPANY recovery of the

 costs and disbursements of this action, including attorneys' fees, together with such other and

 further relief as this Court deems just and proper.

 Dated:   White Plains, New York
          March 6, 2024

                                                       Yours, etc.,




                                                            Marshall T. Potashner, Esq.
                                                       Attorneys for Plaintiff
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